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                       UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

In re:                                                   )    Chapter 7
                                                         )
JOHNSON PUBLISHING COMPANY LLC                           )    Case No. 19-10236
                                                         )
                               Debtor.                   )    Hon. Jack B. Schmetterer

                   AMENDED DECLARATION OF MIRIAM R. STEIN

I, Miriam R. Stein, declare as follows:

         1.    I am an attorney at law duly admitted to practice before this Court and other state

and federal courts in this jurisdiction and employed as Of Counsel to the law firm of Gutnicki

LLP (“Gutnicki”) with its offices located at 4711 Golf Road, Suite 200, Skokie, IL 60076.

         2.    I submit this declaration in support of the entry of an Order authorizing the

substitution of counsel and the retention of Gutnicki as special counsel to Miriam R. Stein, not

individually but solely as the chapter 7 trustee (“Trustee”) for the estate of Johnson Publishing

Company LLC (the “Debtor”) in connection with this case.

         3.    I previously was affiliated with the law firm of Chuhak & Tecson PC (“Chuhak”).

By Order of the Court dated November 26, 2019, the Trustee retained Chuhak has her special

counsel. As of March 1, 2020, I joined the law firm of Gutnicki as Of Counsel and am no longer

affiliated with Chuhak.

         4.    To the best of my knowledge and belief, Gutnicki does not hold or represent an

interest adverse to the estate and the Firm is a “disinterested person” within the meaning of that

term as used in 11 U.S.C. §101(14) and 11 U.S.C. §327(a).




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       5.      To the best of my knowledge, information I do not hold or represent an interest

adverse to the estate and I am a “disinterested person” within the meaning of that term as used in

11 U.S.C. §101(14) and 11 U.S.C. §327(a).

       6.      I continue to have experience and knowledge in the field of credit claim

investigation and litigation, and believe that I am well qualified to continue to serve as special

counsel for the Trustee in this case. Further, Gutnicki has expertise in bankruptcy and litigation,

and I believe that the firm is well qualified to serve as special counsel to the Trustee.

       7.      To the best of my knowledge, Gutnicki does not have any connections with the

United States Trustee or employees of the Office of the United States Trustee. No current

employee of the Office of the United States Trustee is a relative to any person connected with

Gutnicki or a relative of the Bankruptcy Judge assigned in this case. Notwithstanding the

foregoing, I am a Chapter 7 trustee in the Northern District of Illinois, Cook County. Further, I

am the Trustee in this case.

       8.      Gutnicki has not entered into any arrangement to share any compensation that

may be awarded by the Court, except as permitted under section 504(b) of the Bankruptcy Code.

       9.      Gutnicki’s compensation shall be on an hourly basis and subject to approval by

this Court. My hourly rate is $400 per hour. The hourly rates for Gutnicki’s attorneys are as

follows:

       Partners - $400 to $535 per hour

       Associates - $235 to $360 per hour

       Paralegals - $125 to $205 per hour

       10.     Gutnicki has no connections with the Debtor or any creditors of the Debtor’s

estate. Gutnicki will amend this Affidavit as necessary if connections are discovered. Further,



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Gutnicki will promptly notify the Trustee, the Court and affected creditors should any conflict

arise between Gutnicki and such affected creditors, if any.

       I declare under penalty of perjury that the foregoing is true and correct on this 23rd day of

March 2020.

                                      __/s/ Miriam R. Stein______________________

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